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FILED
CLERK, U.S. DISTRICT COURT

 

 

 

 

 

 

 

02/24/2023
CLINTON BROWN, Pro Se CENTRAL DISTRICT OF CALIFORNIA
16821 Edgar Street py:__GR__perury

 

Pacific Palisades, CA 90272

clinton@atlasinc.solar

310-487-6453

Note: The Clerk must not refuse to file a paper solely because it is not in the form
prescribed by these rules or by a local rule or practice. Fed. R. Civ. P. 5(d)(4)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CLINTON BROWN, CASE NO. 2:22-cv-09203-MEMF-KS
Plaintiff, Motion to Clerk of the Court to
VS. Correct Docket
CLARK R. TAYLOR, AICP, THE Judge: Honorable Maame Ewusi-
LOS ANGELES COUNTY Mensah Frimpong
DEPARTMENT OF REGIONAL Magistrate Judge: Karen L.
PLANNING, Stevenson
Defendant. Action Filed: 12/17/2022
Action Due: 01/12/2023

 

 

MOTION TO CLERK OF THE COURT TO CORRECT DOCKET

NOTICE TO THE CLERK, Plaintiff respectfully moves the Clerk of the Court
to clerically correct docket numbers, #24, #29 and #30, respectively, in case 2:22-
cv-09203-MEMF-KS. Filings must be entered chronologically. F.R.C.P. 79(2)(A).
(Emphasis added).

Docket entries #29 and #30 were received by the Court (Tracking Number: EDS-
230217-000-6894) on 2/17/2023 at 6:20:43 AM, while docket entry #24 was filed

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and entered on 02/17/2023 at 7:22 AM. This is an inaccurate chronological order
of events. (Emphasis added).

Docket #24 contains a FINANCIAL ENTRY that does not accurately reflect the
source of the filing fee as required by 28 USC 751(e). Docket #30 includes an

affidavit affirming that the filing fee was borrowed from a third-party. (USPS
#EI147652206US)

Federal statute 28 USC 751(e) mandates that the Clerk of the Court record
a chronological and Treasury-compliant public docket. (Emphasis added).

THEREFORE, Plaintiff respectfully requests that the Clerk of the Court promptly

correct the docket and notify the Plaintiff of such correction.

“T declare (or certify, verify, or state) under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.”

SSSA

Clinton Brown 2/24/2023

MOTION TO CLERK OF THE COURT TO CORRECT DOCKET
